      Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 1 of 30




 1 ERNEST GALVAN – 196065                          OREN NIMNI*
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 2   ADRIENNE SPIEGEL – 330482                     AMARIS MONTES*
     LUMA KHABBAZ – 351492                          Md. Bar No. 2112150205
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 4   101 Mission Street, Sixth Floor               RIGHTS BEHIND BARS
     San Francisco, California 94105-1738          416 Florida Avenue N.W. #26152
 5   Telephone:    (415) 433-6830                  Washington, D.C. 20001-0506
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 8 SUSAN M. BEATY – 324048                         STEPHEN S. CHA-KIM*
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 9 IMMIGRANT JUSTICE                               ARNOLD & PORTER KAYE SCHOLER LLP
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   Telephone:    (510) 679-3674                    Telephone: (212) 836-8000
11 Email:        susan@ccijustice.org              Email:      stephen.cha-kim@arnoldporter.com

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13                                                 3000 El Camino Real
                                                   Five Palo Alto Square, Suite 500
14                                                 Palo Alto, California 94306-3807
                                                   Telephone: (650) 319-4500
15                                                 Email:       carson.anderson@arnoldporter.com
                                                   *
16                                                     Admitted pro hac vice
     Attorneys for Plaintiffs
17
18                                    UNITED STATES DISTRICT COURT

19                      NORTHERN DISTRICT OF CALIFORNIA, OAKLAND DIVISION

20
21 CALIFORNIA COALITION FOR WOMEN                          Case No. 4:23-cv-04155-YGR
     PRISONERS et al.,
22                                                         DECLARATION OF ERNEST
                        Plaintiffs,                        GALVAN IN SUPPORT OF
23                                                         PLAINTIFFS’ EX PARTE REQUEST
                   v.                                      FOR ENLARGEMENT OF TIME
24                                                         UNDER FED. R. CIV. P. 6(b) &
   UNITED STATES OF AMERICA FEDERAL                        4(i)(4)(B)
25 BUREAU OF PRISONS et al.,
                                                           Judge:   Hon. Yvonne Gonzalez Rogers
26                      Defendants.
                                                           Trial Date:         None Set
27
28

     [4424889.1]                                                               Case No. 4:23-cv-04155-YGR
                                       DECLARATION OF ERNEST GALVAN
      Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 2 of 30




 1                 I, Ernest Galvan, declare:
 2                 1.     I am an attorney duly admitted to practice before this Court. I am a partner
 3 in the law firm of Rosen Bien Galvan & Grunfeld LLP, counsel of record for Plaintiffs. I
 4 have personal knowledge of the facts set forth herein, and if called as a witness, I could
 5 competently so testify. I make this declaration based in support of Plaintiffs’
 6 PLAINTIFFS’ EX PARTE REQUEST FOR ENLARGEMENT OF TIME UNDER FED.
 7 R. CIV. P. 6(b) & 4(i)(4)(B).
 8                 2.     Plaintiffs have attempted to serve Defendant Darrell Smith on this matter as
 9 follows:
10                        a.     In compliance with FRCP Rule 4(i)(3) we served the United States for
11 Defendant Smith on September 14, 2023 (United States Attorneys’ Office) and September
12 18, 2023 (Attorney General of the United States).
13                        b.     On September 14, 2023, a copy of the Complaint, Summons dated
14 September 13, 2023, Judge Gonzalez Rogers’ Standing Order and Standing Order for All
15 Judges re Joint Case Management Statement (hereinafter “Smith Documents 1”) was sent
16 via certified mail to Mr. Smith at the address where we believe he is residing in Florida.
17 The United States Postal Service (hereinafter “USPS”) attempted to deliver the “Smith
18 Documents 1” to Mr. Smith’s residence on September 18 and September 19, 2023. Notices
19 were left at this address on both occasions because no authorized recipient was available.
20 The USPS sent a reminder to Mr. Smith on September 23, 2023 to schedule redelivery of
21 the item. Since the envelope remained unclaimed, the USPS initiated the return of the
22 “Smith Documents 1” to our Firm on October 3, 2023 and we received the envelope of
23 materials on October 26, 2023. Attached hereto as Exhibit A is a true and correct copy of
24 the USPS Tracking.
25                        c.     On October 27, 2023, a copy of the Complaint, Summons dated
26 October 26, 2023, Judge Gonzalez Rogers’ Standing Order and Standing Order for All
27 Judges re Joint Case Management Statement (hereinafter “Smith Documents 2”) was sent
28 via certified mail to Mr. Smith at the address where we believe he is residing in Florida.

     [4424889.1]                                         2                      Case No. 4:23-cv-04155-YGR
                                         DECLARATION OF ERNEST GALVAN
      Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 3 of 30




 1 The USPS attempted to deliver the “Smith Documents 2” to Mr. Smith’s residence on
 2 November 3, 2023. Notice was left at this address because no authorized recipient was
 3 available. The USPS sent a reminder to Mr. Smith on November 8, 2023 to schedule
 4 redelivery of the item. Since the envelope remained unclaimed, the USPS initiated the
 5 return of the “Smith Documents 2” to our Firm on December 4, 2023. Attached hereto as
 6 Exhibit B is a true and correct copy of the USPS Tracking.
 7                 d.    On November 13, 2023, Plaintiffs initiated personal service of the
 8 “Smith Documents 2” on Mr. Smith via Ace Attorney Service at the address where we
 9 believe he is residing in Florida. The process server attempted to serve Ms. Smith on three
10 separate occasions: November 20, November 22, and November 25, 2023; they were
11 unsuccessful on each attempt. Attached hereto as Exhibit C is a true and correct copy of
12 the email correspondence from Ace Attorney Service to our Firm providing a status update
13 of the service attempts on Mr. Smith with the address redacted.
14                 e.    On December 4, 2023, Ace Attorney Service attempted to serve the
15 “Smith Documents 2” on Mr. Smith. Again, they were unsuccessful. Attached hereto as
16 Exhibit D is a true and correct copy of the email correspondence from Ace Attorney
17 Service to our Firm providing a status update on this attempt at service with the address
18 redacted.
19                 f.    Ace Attorney Service again attempted to serve the “Smith Documents
20 2” on Mr. Smith on January 8 and January 10, 2024 with no success. Attached hereto as
21 Exhibit E is a true and correct copy of the email correspondence from Ace Attorney
22 Service to our Firm providing a status update on these attempts at service with the address
23 redacted.
24                 g.    Ace Attorney Service again attempted to serve the “Smith Documents
25 2” on Mr. Smith on January 16 and January 18, 2024 with no success. Attached hereto as
26 Exhibit F is a true and correct copy of the email correspondence from Ace Attorney
27 Service to our Firm providing a status update on these attempts at service with the address
28 redacted.

     [4424889.1]                                 3                      Case No. 4:23-cv-04155-YGR
                                 DECLARATION OF ERNEST GALVAN
      Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 4 of 30




 1                      h.    On or about January 17, 2024, I emailed Defendant Smith’s counsel in
 2 the matter United States v. Smith, No. 23-CR-00110 YGR, to confirm the address and to
 3 ask whether counsel would accept service on his behalf. On or about January 26, 2024, I
 4 received a response confirming the address but declining to accept service. Attached
 5 hereto as Exhibit G is a true and correct copy of these two emails with the address
 6 information redacted.
 7                 3.   Plaintiffs have attempted to serve Defendant Nakie Nunley on this matter as
 8 follows:
 9                      a.    In compliance with FRCP Rule 4(i)(3) we served the United States for
10 Defendant Nunley on September 14, 2023 (United States Attorneys’ Office) and
11 September 18, 2023 (Attorney General of the United States).
12                      b.    Plaintiff has attempted to serve a copy of the Complaint, Summons
13 dated September 13, 2023, Judge Gonzalez Rogers’ Standing Order and Standing Order
14 for All Judges re Joint Case Management Statement (hereinafter “Nunley Documents”) on
15 Defendant Nakie Nunley via Ace Attorney Service on September 19, 2023 at the address
16 where we believe he is residing in Fairfield, California. The process server was informed
17 by a woman who spoke through a screen door that she had recently purchased the house
18 and moved in the prior month and had no knowledge of Mr. Nunley. Attached as Exhibit
19 H is a true and correct copy of the email correspondence from Ace Attorney Service to our
20 Firm providing a status update for Mr. Nunley with the address redacted.
21                      c.    By January 17, 2024, we had learned of a possible new address for
22 Mr. Nunley in Suisun City, California, and have attempted again to serve him there via
23 Ace Attorney Service. Ace Attorney Service attempted to serve Mr. Nunley on January 20
24 and January 23, 2024 with no success. Attached as Exhibit I is a true and correct copy of
25 the email correspondence from Ace Attorney Service to our Firm providing a status update
26 for Mr. Nunley with the address redacted On or about January 23, 2024, I emailed
27 Defendants Nunley’s counsel in the matter United States v. Nunley, No. 23-CR-00213
28 YGR, to confirm the address and to ask whether counsel would accept service on his

     [4424889.1]                                      4                     Case No. 4:23-cv-04155-YGR
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      Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 5 of 30




 1 behalf. Attached hereto as Exhibit J is a true and correct copy of my email with the
 2 address information redacted.
 3                 4.   Plaintiffs have attempted to serve Defendant Lieutenant Jones in this matter
 4 as follows:
 5                      a.    In compliance with FRCP Rule 4(i)(3) we served the United States for
 6 Lieutenant Jones on October 27, 2023 (United States Attorneys’ Office) and November 3,
 7 2023 (Attorney General of the United States).
 8                      b.    We have not yet been able to determine this Defendants’ full name
 9 and address for personal service. On January 24, 2024, we served an interrogatory on the
10 BOP to seek this information.
11                 5.   Plaintiffs have attempted to serve Defendant Officer Lewis in this matter as
12 follows:
13                      a.    In compliance with FRCP Rule 4(i)(3) we served the United States for
14 Officer Lewis on October 27, 2023 (United States Attorneys’ Office) and November 6,
15 2023 (Attorney General of the United States).
16                      b.    We have not yet been able to determine this Defendants’ full name
17 and address for personal service. On January 24, 2024, we served an interrogatory on the
18 BOP to seek this information.
19                 6.   Plaintiffs have attempted to serve Defendant Officer Serrano in this matter
20 as follows:
21                      a.    In compliance with FRCP Rule 4(i)(3) we served the United States for
22 Officer Serrano on October 27, 2023 (United States Attorneys’ Office) and November 6,
23 2023 (Attorney General of the United States).
24                      b.    We have not yet been able to determine this Defendants’ full name
25 and address for personal service. On January 24, 2024, we served an interrogatory on the
26 BOP to seek this information.
27                 7.   Plaintiffs have attempted to serve Defendant Officer Vasquez or Vazquez
28 in this matter as follows:

     [4424889.1]                                       5                     Case No. 4:23-cv-04155-YGR
                                       DECLARATION OF ERNEST GALVAN
      Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 6 of 30




 1                       a.     In compliance with FRCP Rule 4(i)(3) we served the United States for
 2 Officer Vasquez or Vazquez on September 14, 2023 (United States Attorneys’ Office) and
 3 September 18, 2023 (Attorney General of the United States).
 4                       b.     We have not yet been able to determine this Defendants’ full name
 5 and address for personal service. On January 24, 2024, we served an interrogatory on the
 6 BOP to seek this information.
 7                 I declare under penalty of perjury under the laws of the United States of America
 8 that the foregoing is true and correct, and that this declaration is executed at San Francisco,
 9 California this 26th day of January, 2024.
10
11                                                       /s/ Ernest Galvan
                                                         Ernest Galvan
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     [4424889.1]                                         6                     Case No. 4:23-cv-04155-YGR
                                         DECLARATION OF ERNEST GALVAN
Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 7 of 30




    EXHIBIT                                            A
            Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 8 of 30


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     EXHIBIT                                           C
              Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 15 of 30


Linda Woo

From:               Aida@acelegal.com
Sent:               Tuesday, November 28, 2023 3:27 PM
To:                 Linda Woo; AIDA@ACELEGAL.COM; DANNY@ACELEGAL.COM
Subject:            Status Update-Control# 2253922 Ref# IMAN-DMS.FID66630


[EXTERNAL MESSAGE NOTICE]

ACE ATTORNEY SERVICE STATUS UPDATE

Ordered By: LINDA WOO

Control Number: 2253922

Reference: IMAN‐DMS.FID66630

Delivery Name and Address:
DARRYL SMITH



Service Type: PDF P3D

Notes:
1ST ATTEMPT: 11/20, 6:25PM / Server arrived at loca on and the front door is not visible from the end of the driveway
at the street. There were two cars parked in car ports. Server honked several mes and waited, but did not get a
response.
********************************************************
2ND ATTEMPT: 11/22, 6:40AM / Server arrived at the home and could see four cars parked in the front yard area.
No contact made a er honking several mes.
********************************************************
3RD ATTEMPT: 11/25, 4:25PM / Once again there was no contact made. Three cars parked out front, no people seen on
property.
 **** PLEASE ADVISE HOW TO PROCEED WITH SERVICE ****




                                                          1
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    EXHIBIT                                            D
              Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 17 of 30


Linda Woo

From:              Aida@acelegal.com
Sent:              Thursday, December 7, 2023 10:38 AM
To:                Linda Woo; AIDA@ACELEGAL.COM
Subject:           Status Update-Control# 2253922 Ref# IMAN-DMS.FID66630


[EXTERNAL MESSAGE NOTICE]

ACE ATTORNEY SERVICE STATUS UPDATE

Ordered By: LINDA WOO

Control Number: 2253922

Reference: IMAN‐DMS.FID66630

Delivery Name and Address:
DARRYL SMITH



Service Type: PDF P3D

Notes:
4TH ATTEMPT: 12/4, 8:15AM / No contact was made and no vehicles were present. Server placed a business card on the
mailbox during a previous a empt, and it was s ll in place.
 ****PLEASE ADVISE HOW TO PROCEED WITH SERVICE ****




                                                        1
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     EXHIBIT                                           E
              Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 19 of 30


Linda Woo

From:               Aida@acelegal.com
Sent:               Wednesday, January 10, 2024 12:38 PM
To:                 Linda Woo; AIDA@ACELEGAL.COM
Subject:            Status Update-Control# 2270492 Ref# IMAN-DMS.FID66630


[EXTERNAL MESSAGE NOTICE]

ACE ATTORNEY SERVICE STATUS UPDATE

Ordered By: LINDA WOO

Control Number: 2270492

Reference: IMAN‐DMS.FID66630

Delivery Name and Address:
DARRELL SMITH



Service Type: PDF P3D

Notes:
1ST ATTEMPT: 1/8, 5:35PM / Gate to property was open, server gained access to the residence. Three vehicles parked in
the driveway. Approached the front door and knocked several mes and waited; There was no response.
No noise or movement noted.
********************************************************
2ND ATTEMPT: 1/10, 2:18PM / The gate to the property was closed and locked with a chain. Server unable to gain access
to the home.
***WE WILL CONTINUE ATTEMPTING***




                                                          1
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     EXHIBIT                                            F
              Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 21 of 30


Linda Woo

From:               Aida@acelegal.com
Sent:               Friday, January 19, 2024 11:45 AM
To:                 Linda Woo; AIDA@ACELEGAL.COM
Subject:            Status Update-Control# 2270492 Ref# IMAN-DMS.FID66630


[EXTERNAL MESSAGE NOTICE]

ACE ATTORNEY SERVICE STATUS UPDATE

Ordered By: LINDA WOO

Control Number: 2270492

Reference: IMAN‐DMS.FID66630

Delivery Name and Address:
DARRELL SMITH



Service Type: PDF P3D

Notes:
3RD ATTEMPT: 1/16, 8:45AM / Server arrived at loca on, and the property gates are locked. Unable to gain access to the
residence.
4TH ATTEMPT: 1/18, 7:58AM / Server arrived at loca on, and the property gates remain locked. Unable to gain access to
the residence.




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    EXHIBIT                                            G
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Ernest Galvan

From:                              Benjamin Luke <luke@Defender.Law>
Sent:                              Friday, January 26, 2024 11:21 AM
To:                                Ernest Galvan
Cc:                                Linda Woo; Luma Khabbaz; Kara Janssen; Oren Nimni; Susan Beaty; Cha-Kim, Stephen;
                                   Naomi Chung
Subject:                           Re: USA v. Darrell Wayne Smith, NO. 23-CR-00110-YGR and CCWF et al. v. Darrell
                                   Wayne Smith et al., No. 23-cv-4155 YGR [IMAN-DMS.FID66630]



[EXTERNAL MESSAGE NOTICE]
Hello Counsel,

We do not represent Mr. Smith in the civil case. Our firm has only been retained in the criminal matter. Thus, we are not
authorized to accept service on his behalf in the civil matter.

However, I can confirm that the address you provided is correct.

Thank you,
Ben

                        Benjamin P. Luke
                        Attorney
                        t. 415.942.9000
                        f. 415.484.7054
                        luke@defender.law

                        Pier 9, Suite 100
                        San Francisco, CA 94111
                        www.defender.law




From: Ernest Galvan <EGalvan@rbgg.com>
Date: Wednesday, January 17, 2024 at 3:28 PM
To: Naomi Chung <Chung@Defender.Law>, Benjamin Luke <luke@Defender.Law>
Cc: Linda Woo <lwoo@rbgg.com>, Luma Khabbaz <LKhabbaz@rbgg.com>, Kara Janssen
<KJanssen@rbgg.com>, Oren Nimni <oren@rightsbehindbars.org>, Susan Beaty
<susan@ccijustice.org>, Cha-Kim, Stephen <Stephen.Cha-Kim@arnoldporter.com>
Subject: USA v. Darrell Wayne Smith, NO. 23-CR-00110-YGR and CCWF et al. v. Darrell Wayne Smith et
al., No. 23-cv-4155 YGR [IMAN-DMS.FID66630]

Dear Counsel:

I represent the plaintiffs in the civil action, CCWF et al. v. United States, Darrell Wayne Smith, et al., No. 23-cv-4155
YGR. Despite diligent efforts, I have not been able to complete service of the civil summons and complaint on your
client, Mr. Smith. My process server has attempted service numerous times at the last known address we have for Mr.
Smith, which is                                                 . The process server has been to the address on several
occasions on which there were vehicles parked in the driveway, and the gate was open, but no one responded at the


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door. Service was attempted on 1/20/24, 1/8/24, 11/25/23, 11/20/23, 11/22/23. We have also attempted service twice
by U.S. Certified Mail, however he has not responded to USPS notices of attempted delivery.

I presume that his conditions of pre-trial release require him to be at this address, although the conditions are currently
under seal and I cannot access them on Pacer.

At this point, I am prepared to ask Judge Gonzalez Rogers to unseal the pretrial release conditions, so that I can confirm
the address that way, and to file a motion in the civil case seeking leave to serve by publication. Before I do so, I am
reaching out to you with two questions:

    1. Are you authorized to accept service on Mr. Smith’s behalf?
    2. Can you confirm a proper address for personal service?

Please respond by Friday, January 19, 2024, as I am working under an early February deadline to complete service.

Thank you.

Ernest Galvan
ROSEN BIEN GALVAN & GRUNFELD LLP
101 Mission Street, 6th Floor
San Francisco, CA 94105
(415) 433-6830 (telephone)
(415) 296-2293 (direct)
(415) 694-3606 (mobile)
(415) 433-7104 (fax)
egalvan@rbgg.com

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    EXHIBIT                                            H
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Linda Woo

From:              abigail@acelegal.com
Sent:              Wednesday, September 20, 2023 3:35 PM
To:                Linda Woo; SFPROCESS@ACELEGAL.COM
Subject:           Status Update-Control# 2231710 Ref# CA COALITION V. USAFBOP


[EXTERNAL MESSAGE NOTICE]

ACE ATTORNEY SERVICE STATUS UPDATE

Ordered By: LINDA WOO

Control Number: 2231710

Reference: CA COALITION V. USAFBOP

Delivery Name and Address:
NAKIE NUNLEY



Service Type: PDF P3D

Notes:
09/19 @ 5:00pm PER JANE DOE (SPOKE THROUGH SCREEN DOOR) STATES SHE JUST BOUGHT HOME AND MOVED IN
LAST MONTH.
SUBJECT IS UNKNOWN. SUBJECT DOES NOT LIVE OR RECEIVE MAIL HERE. THIS IS A BAD ADDRESS.
********************************************************
PLEASE ADVISE HOW YOU WOULD LIKE TO PROCEED.




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      EXHIBIT                                           I
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From:              Abigail Marie Smith
To:                Linda Woo; Service of Process Department-Bay Area
Subject:           Status Update-Control# 2275714 Ref# 672-7
Date:              Thursday, January 25, 2024 10:14:11 AM




ACE ATTORNEY SERVICE STATUS UPDATE

Ordered By: LINDA WOO

Control Number: 2275714

Reference: 672-7

Delivery Name and Address:
NAKIE NUNLEY



Service Type: PDF P3D

Notes:
1/20 @ 12:49PM SERVER DISPATCHED TO ADDRESS. NO ANSWER
AT THE DOOR AFTER KNOCKING SEVERAL TIMES. NO MOVEMENT
HEARD, QUIET INSIDE.
********************************************************
1/23 @ 8:51PM SERVER DISPATCHED TO ADDRESS. NO ANSWER
AT THE DOOR. NO MOVEMENT OR ACTIVITY HEARD.
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      EXHIBIT                                           J
                Case 4:23-cv-04155-YGR Document 134-1 Filed 01/26/24 Page 30 of 30


Ernest Galvan

From:                Ernest Galvan
Sent:                Tuesday, January 23, 2024 3:35 PM
To:                  'tpori1@gmail.com'
Cc:                  Linda Woo; Luma Khabbaz; Kara Janssen; Oren Nimni; Susan Beaty; Cha-Kim, Stephen
Subject:             USA v. Nakie Nunley, NO. 23-CR-00213-YGR and CCWF et al. v. Nakie Nunley et al., No. 23-cv-4155
                     YGR [IMAN-DMS.FID66630]
Attachments:         Dkt 001 Civil Complaint, 08-16-23, 672-7(4340143.4).pdf; Dkt 024 Summons, 09-13-23,
                     672-7(4358605.1).pdf; Dkt 001-1 Civil Cover Sheet, 08-16-23, 672-7(4340144.1).pdf




Dear Counsel:

I represent the plain ﬀs in the civil ac on, CCWF et al. v. United States, Nakie Nunley, et al., No. 23‐cv‐4155
YGR. Despite diligent eﬀorts, I have not been able to complete service of the civil summons and complaint on your
client, Mr. Nunley. My process server has a empted to serve Mr. Nunley at the last known address we have found for
him, which is                                                       . We have also a empted service by U.S. Cer fied
Mail.

I presume that his condi ons of pre‐trial release require him to be at this or some other address, although the
condi ons are currently under seal and I cannot access them on Pacer.

At this point, I am prepared to ask Judge Gonzalez Rogers to unseal the pretrial release condi ons, so that I can confirm
the address that way, and to file a mo on in the civil case seeking leave to serve by publica on. Before I do so, I am
reaching out to you with two ques ons:

    1. Are you authorized to accept service on Mr. Nunley’s behalf?
    2. Can you confirm a proper address for personal service?

Please respond by Friday, January 26, 2024, as I am working under an early February deadline to complete service.

Thank you.

Ernest Galvan
ROSEN BIEN GALVAN & GRUNFELD LLP
101 Mission Street, 6th Floor
San Francisco, CA 94105
(415) 433-6830 (telephone)
(415) 296-2293 (direct)
(415) 694-3606 (mobile)
(415) 433-7104 (fax)
egalvan@rbgg.com

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